Case 4:17-cv-01020-P Document 76 Filed 09/14/22       Page 1 of 1 PageID 673



                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

    JACQUELINE CRAIG, INDIVIDUALLY
    AND ON BEHALF OF MINORS J.H., K.H.,
    AND A.C., ET AL.,

         Plaintiffs,

    v.                                               No. 4:17-cv-1020-P

    CITY OF FORT WORTH, TEXAS, ET AL.,

         Defendants.
                                   ORDER
      On September 12, 2022, the United States Court of Appeals for the
   Fifth Circuit issued a Judgement and Mandate with a supporting
   Opinion in this case. ECF Nos. 73, 74. The Fifth Circuit’s Opinion stated
   that the denial of qualified immunity on the excessive force claims is
   reversed, and summary judgment is rendered in Martin’s favor as to the
   excessive force claims. ECF No. 74.

         Accordingly, the Court ORDERS the Parties to file a Joint Report
   on or before September 28, 2022, detailing the remaining issues in
   front of the Court following the issuance of the Mandate. The Joint
   Report shall also include a proposed briefing schedule to resolve these
   issues.

         SO ORDERED on this 14th day of September 2022.




                                        Mark T. Pittman
                                        UNITED STATES DISTRICT JUDGE
